        Case
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 5   jmw@gregoryandwaldo.com
     Attorney for Defendant
 6   ANTOINE EVANS
 7                               UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,           )
10
                                         )                Case No.: 2:16-cr-00052-GMN-CWH
11              Plaintiff,               )
         v.                              )
12                                       )                ANTOINE EVANS UNOPPOSED
                                         )                MOTION TO CONDUCT A
13
     REGGIE PRATT, et al.                )                PRE-PLEA PRESENTENCE
14                                       )                INVESTIGATION REPORT AND
                Defendants.              )                PROPOSED ORDER
15                                       )
16   ____________________________________)

17          COMES NOW, ANTOINE EVANS, by and through his counsel, JENNIFER M.
18   WALDO, Esq., of GREGORY & WALDO, LLC., and hereby move this Honorable Court for
19
     an Order to conduct a pre-plea presentence investigation report in the instant matter.
20
            The calculation of Mr. Evans’ criminal history may drastically impact his sentencing
21
22   exposure, which will impact any plea negotiations and/or how Mr. Evans intends to proceed in

23   this matter. A pre-plea presentence report will promote judicial economy because it will
24   ultimately aid in the manner in which this case is resolved.
25
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              Accordingly, Mr. Evans respectfully requests an Order requiring Parole and Probation to prepare a pre-plea
 1
 2   presentence investigation report. It is counsel’s understanding that the Government is not opposing this request.

 3            DATED this 26th day of June, 2017.
 4
                                                                              Submitted by:
 5
                                                                              /s/ Jennifer M. Waldo
 6                                                                            __________________________
 7                                                                            Nevada Bar No.: 11900
                                                                              324 S. 3rd Street, Suite 1
 8                                                                            Las Vegas, Nevada 89101
                                                                              Attorney for Antoine Evans
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 6   ANTOINE EVANS
 7                               UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,           )
10
                                         )               Case No.: 2:16-cr-00052-GMN-CWH
11              Plaintiff,               )
         v.                              )
12                                       )               ORDER
                                         )
13
     REGGIE PRATT, et al.                )
14                                       )
                Defendants.              )
15                                       )
16   ____________________________________)

17          IT IS HEREBY ORDERED that Defendant Antoine Evans’ Unopposed Motion for a
18   Pre-Plea Presentence Investigation Report is GRANTED.
19
            IT IS FURTHER ORDERED that the United States Office of Parole and Probation shall
20
     prepare and submit to the Court a Pre-Plea Presentence Investigation Report containing the
21
22   requested guideline calculation of Mr. Evans’ criminal history only.

23                      27th day of June, 2017.
            DATED this ______
24
25
                                                                 _____________________________
26                                                               United States Magistrate
                                                                               District Court Judge
27
28


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        Case
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                                     CERTIFICATE OF SERVICE
 1
 2          The undersigned certifies that on the 26th day of June, 2017, the undersigned served the

 3   foregoing Antoine Evans’ Unopposed Motion for a Pre-Plea Presentence Investigation Report
 4
     on all counsel herein by causing a true copy thereof to be filed with the Clerk of Court using
 5
     CM/ECF system which was electronically served upon all attorneys of record in this matter.
 6
 7
 8                                      /s/ Nicole Petrillo
                      __________________________________________________
 9                            An Employee of Gregory & Waldo, LLC.
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